Case 1:21-cv-00100-LEK-WRP Document 59 Filed 03/10/22 Page 1 of 2     PageID #: 1208



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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII


                                        )   CASE NO. 1:21-CV-00100 LEK-RT
  JEREMY WARTA,                         )
                                        )   CERTIFICATE OF SERVICE RE:
                       Plaintiff,       )   PLAINTIFF'S SECOND REQUEST
                                        )   FOR ANSWERS TO
           vs.                          )   INTERROGATORIES AND SECOND
                                        )   REQUEST FOR PRODUCTION OF
  PORTER, MCGUIRE, & KIAKONA,           )   DOCUMENTS TO DEFENDANT
  LLP.,                                 )   PORTER, MCGUIRE, & KIAKONA,
                                        )   LLP
                                        )
                       Defendant.       )   Trial Date: June 6, 2022
                                        )   Judge: Hon. Leslie E. Kobayashi


                             CERIFICATE OF SERVICE


        The undersigned hereby certify that, on March 8, 2022, a true and correct

  copy of Plaintiff JEREMY WARTA’s Second Request for Answers to

  Interrogatories and Second Request for Production of Documents to Defendant

  PORTER, MCGUIRE & KIAKONA, LLP was duly served via electronic mail to

  the following persons:
Case 1:21-cv-00100-LEK-WRP Document 59 Filed 03/10/22 Page 2 of 2    PageID #: 1209




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        DATED: Honolulu, Hawaii, March 10, 2022.


                                           /s/ Justin A. Brackett________
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